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 2   Nevada State Bar No. 11479
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 7   Attorney for Esau Aziz Shahid
 8
 9                       UNITED STATES DISTRICT COURT

10                                DISTRICT OF NEVADA

11
     United States of America,                       Case No. 2:19-cr-003-RFB-NJK
12
                 Plaintiff,                           Emergency Stipulation to
13                                                  Continue Self-Surrender Date
           v.
14
     Esau Aziz Shahid,                                          (Third Request)
15
                 Defendant.
16
17         IT IS HEREBY STIPULATED AND                  AGREED, by and between
18   Nicholas   A.   Trutanich,   United   States   Attorney,    and   Peter   S.   Levitt,
19   Assistant United States Attorney, counsel for the United States of America, and
20   Rene L. Valladares, Federal Public Defender, and Raquel Lazo, Assistant Federal
21   Public Defender, counsel for Esau Aziz Shahid, that Mr. Shahid’s self-surrender
22   date currently scheduled for October 27, 2020 at 12:00 p.m., be continued to
23   January 5, 2021 at 12:00 p.m.
24
25
26
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 1         This Stipulation is entered into for the following reasons:
 2         1.      Mr. Shahid previously requested extensions of his self-surrender date
 3   because FCI Safford (Mr. Shahid’s designated BOP facility) was not accepting
 4   voluntary surrenders due to COVID-19. ECF Nos. 36 and 38. Mr. Shahid wanted
 5   the opportunity to begin his sentence at his designated facility rather than
 6   surrender to a different BOP facility and be transferred at a later date. This Court
 7   granted the extensions. ECF No. 37 and 39.
 8         2.      The Marshals have confirmed that FCI Safford is now accepting
 9   voluntary surrenders. However, given the pandemic, BOP facilities are still not
10   currently offering programming at this time and have considerably modified their
11   operations. There currently appears to be little, if any, programming and
12   rehabilitation Mr. Shahid could benefit from if required to surrender at the end of
13   this month.
14         3.       The   parties   agree   to   this   request.   Absent   extraordinary
15   circumstances, Mr. Shahid does not anticipate any additional self-surrender
16   requests.
17         4.      Mr. Shahid’s Pretrial Services Officer, Misty Sanchez, has no
18   opposition. Mr. Shahid is in full compliance.
19         This is the third request for a continuance of Mr. Shahid’s surrender date.
20         DATED this 13th day of October, 2020.
21
22   RENE L. VALLADARES                          NICHOLAS A. TRUTANICH
     Federal Public Defender                     United States Attorney
23
24       /s/ Raquel Lazo                             /s/ Peter S. Levitt
     By_____________________________             By_____________________________
25
     RAQUEL LAZO                                 PETER S. LEVITT
26   Assistant Federal Public Defender           Assistant United States Attorney
                                                 2
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 1                        UNITED STATES DISTRICT COURT

 2                               DISTRICT OF NEVADA
 3
     United States of America,                       Case No. 2:19-cr-003-RFB-NJK
 4
                  Plaintiff,                                    ORDER
 5
           v.
 6
     Esau Aziz Shahid,
 7
                  Defendant.
 8
 9
10         IT IS ORDERED that Mr. Shahid’s self-surrender date currently scheduled

11   for October 27, 2020 at 12:00 p.m., is continued to January 5, 2021 at 12:00 p.m.

12                     19th day of October, 2020.
           DATED this _______

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14
                                            RICHARD F. BOULWARE, II
15
                                            UNITED STATES DISTRICT JUDGE
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